                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA



TRAVELERS CASUALTY AND SURETY      )
COMPANY OF AMERICA,                )
                                   )
                       Plaintiff, )
                                   )
     vs.                           )
                                   )
DATUM CONSTRUCTION MANAGEMENT,     )
INC., et al.,                      )
                                   )             No. 3:12-cv-0082-HRH
                      Defendants. )
___________________________________)



                                  O R D E R
                              Motion to Sever1

     Plaintiff moves to sever the Jones defendants and continue

this action as to the corporate defendants.           The motion is unop-

posed.

     By order of December 5, 2012,2 proceedings in this case were
stayed as to defendants Keith and Sherri M. Jones based upon their

bankruptcy filings.      In such situations, the court routinely stays

proceedings as to defendants who have filed bankruptcy petitions

and proceeds with the case as to other, unaffected parties.

Accordingly, plaintiff’s motion to sever was probably unnecessary,

but is granted.

     1
      Docket No. 32.
     2
      Docket No. 34.

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     The court will proceed with plaintiff’s motion3 to dismiss

defendants’ counterclaim.         With the exception of the foregoing

motion to dismiss, this case remains stayed as to all parties as

provided in the court’s order of January 31, 2013.4           In the latter

regard, the court expects a status report from the parties on or

before April 30, 2013.

     DATED at Anchorage, Alaska, this 14th day of February, 2013.


                                          s/ H. Russel Holland
                                          United States District Judge




     3
      Docket No. 18.
     4
      Docket No. 41.

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